  Case 15-51937-crm         Doc 18      Filed 03/11/15 Entered 03/11/15 09:50:14             Desc
                                            Page 1 of 4



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

       IN RE:                                      :         CHAPTER 13
       JOE HOWARD ROGERS                           :         CASE NUMBER A15-51937-CRM
       MARY ANN ROGERS                             :
           DEBTORS                                 :         JUDGE MULLINS

              CHAPTER 13 TRUSTEE’S OBJECTION TO CONFIRMATION
                AND EXEMPTIONS AND MOTION TO DISMISS CASE

       COMES NOW, Nancy J. Whaley, the Standing Chapter 13 Trustee herein, and objects to
Confirmation of the plan for the following reasons:

                                                  1.

        The Debtors’ payments under the proposed plan are not current, thus indicating that this
plan is not feasible. 11 U.S.C. Section 1325(a)(6).

                                                  2.

        The Chapter 13 Trustee is unable to determine the feasibility of the Debtors’ Chapter 13
Plan because Internal Revenue Service records indicate tax returns have not been filed for the
periods ending December 31, 2009; December 31, 2010; December 31, 2011; December 31,
2013; December 31, 2014. The failure to file tax returns for the four (4) year period prior to the
filing of the bankruptcy case is in violation of 11 U.S.C. Section 1308.

                                                  3.

       The plan as proposed will extend beyond sixty (60) months, contrary to 11 U.S.C.
Section 1322(d). (61 months).

                                                  4.

        Debtors have failed to file tax returns with the tax authorities for the four (4) year period
prior to filing in violation of 11 U.S.C. Section 1308.

                                                  5.

        The Debtors’ Schedule I reflects a contribution from son of $650.00 per month. The
Trustee requests documentation regarding this contribution, including, but not limited to, a
notarized affidavit executed by the contributor which states the date the contribution began and
how long it is expected to continue. If the contribution is from rental income, the Trustee
requests documentation such as a copy of the written lease or a notarized affidavit from the
lessee. 11 U.S.C. Section 1325(a)(6).
  Case 15-51937-crm        Doc 18     Filed 03/11/15 Entered 03/11/15 09:50:14           Desc
                                          Page 2 of 4



                                                6.

       The funding of post-petition mortgage installments have not been maintained in the
above-styled Chapter 13 case, thereby rendering the proposed plan infeasible in violation of 11
U.S.C. Section 1325(a)(6).

                                                7.

      The Chapter 13 Schedules reflect an exemption of $7,325.00, an amount that exceeds the
exemption limitations allowed in accordance with O.C.G.A. Section 44-13-100(a)(3).

                                                8.

       The plan proposes for the Trustee to disburse attorney fees; however, the Trustee is
unable to administer the provision as it is currently written.

                                                9.

        The Chapter 13 composition plan proposes to pay a debt of $24,189.00 for a vehicle
purchased in October 2014, thereby indicating a lack of good faith in proposing a repayment plan
in violation of 11 U.S.C. Section 1325(a)(3).

                                               10.

        The Debtors’ plan proposes a zero percent (0%) dividend to unsecured creditors, while
paying for an automobile debt in the amount of $24,189.00. As the automobile debt represents a
majority of the debt to be funded in the plan, and there is no meaningful return to unsecured
creditors, it appears that the Debtors are attempting to refinance an auto purchase through the
Chapter 13 plan. Based on the foregoing, the proposed plan may violate 11 U.S.C. Section
1325(a)(3).

                                               11.

        The Debtors are proposing a zero percent (0%) dividend payment to nominal unsecured
debt totaling $3,723.00, which may violate 11 U.S.C. Section 1325(a)(3).

                                               12.

        The proposed plan payment is insufficient to fund creditors and attorney fees pursuant to
the set payments in the plan.
  Case 15-51937-crm      Doc 18    Filed 03/11/15 Entered 03/11/15 09:50:14        Desc
                                       Page 3 of 4



       WHEREFORE, the Trustee moves the Court to inquire into the above objections, deny
Debtors’ exemptions, deny Confirmation of the Debtors’ plan and dismiss the case.

                                         Respectfully submitted,

                                          /s/
                                         Ryan J. Williams,
                                         Attorney for Chapter 13 Trustee
                                         GA Bar No. 940874
                                         303 Peachtree Center Ave., NE, Ste 120
                                         Atlanta, GA 30303
                                         (678) 992-1201


/kk
                                 CERTIFICATE OF SERVICE
Case No: A15-51937-CRM

This is to certify that I have this day served the following with a copy of the foregoing Chapter 13
Trustee's Objection by depositing in the United States mail a copy of same in a properly
addressed envelope with adequate postage thereon.

Debtor(s):
JOE HOWARD ROGERS
MARY ANN ROGERS
1955 SPINK ST NW
ATLANTA, GA 30318




By Consent of the parties, the following have received an electronic copy of the foregoing
Chapter 13 Trustee's Objection through the Court's Electronic Case Filing system.


Attorney for the Debtor(s):
KING & KING LAW LLC
notices@kingkingllc.com




This the 11th day of March, 2015.


/s/____________________________________
  Ryan J. Williams
  Attorney for the Chapter 13 Trustee
  State Bar No. 940874
  303 Peachtree Center Avenue, NE
  Suite 120
  Atlanta, GA 30303
  678-992-1201
